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                               6   Facsimile: (213) 237-2401
                               7   Attorneys for Defendant,
                                   YUSEN LOGISTICS (AMERICAS) INC.
                               8
                               9                        UNITED STATES DISTRICT COURT
                          10                           CENTRAL DISTRICT OF CALIFORNIA
                          11
                          12       JESUS MANUAL HOLGUIN,                     Case No. 2:22-cv-9204
                          13                      Plaintiff,                 NOTICE OF REMOVAL OF
                          14             v.                                  ACTION BY DEFENDANT YUSEN
                                                                             LOGISTICS (AMERICAS) INC.
                          15       YUSEN LOGISTICS (AMERICAS)
                                   INC., and DOES 1-100, inclusive,
                          16
                                                  Defendants.                Complaint filed: June 28, 2022
                          17                                                 Date of Removal: December 19, 2022
                          18
                          19       TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                          20       CENTRAL DISTRICT OF CALIFORNIA AND TO PLAINTIFF JESUS
                          21       MANUAL HOLGUIN:
                          22              PLEASE TAKE NOTICE that Defendant Yusen Logistics (Americas) Inc.
                          23       (“Yusen”) hereby removes the above-entitled action from the Superior Court of the
                          24       State of California, County of Los Angeles, to the United States District Court for
                          25       the Central District of California pursuant to 28 U.S.C. §§ 1332, 1441, and 1446.
                          26       Removal is based upon the following grounds:
                          27       ///
                          28       ///
F ORD & H ARRISON
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       LLP                                                                           NOTICE OF REMOVAL OF ACTION BY
 A T T O R N E Y S A Tr L AW
                        LAW
                                                                        1    DEFENDANT YUSEN LOGISTICS (AMERICAS) INC.
     L O S A N G E L.ES
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                               1   I.    PROCEDURAL HISTORY.
                               2         1.       On June 28, 2022, Plaintiff Jesus Manual Holguin (“Plaintiff”) filed this
                               3   action against Yusen in the Superior Court of California, for the County of Los
                               4   Angeles, entitled “Jesus Manual Holguin v. Yusen Logistics (America) Inc., Alex
                               5   Salguero, Anna Collica, Karen Bleier, and Does 1-100,” Case No. 22STCV21093
                               6   (the “State Court Action”). (Bachert Decl. ¶ 2; Ex. A.)
                               7         2.       On or around September 16, 2022, Plaintiff filed the operative First
                               8   Amended Complaint (“FAC”). (Bachert Decl. ¶ 3; Ex. B.)
                               9         3.       On November 30, 2022, the State Court held a hearing on a demurrer
                          10       brought by Yusen and the individual defendants Alex Salguero, Anna Collica, and
                          11       Karen Bleier (the “Individual Defendants”). (Bachert Decl. ¶ 4; Ex. C.) At this
                          12       hearing, the State Court dismissed all causes of action against the Individual
                          13       Defendants. (Ibid.) The State Court also directed counsel to submit a Judgment of
                          14       Dismissal for the Individual Defendants. (Ibid.)
                          15             4.       Because the Individual Defendants were the only defendants who were
                          16       citizens of the State of California, the State Court Action first became removable on
                          17       November 30, 2022, when the Individual Defendants were effectively dismissed
                          18       from the State Court Action. (Bachert Decl. ¶ 5.)
                          19             5.       On December 12, 2022, Yusen filed its Answer to the State Court
                          20       Action. (Bachert Decl. ¶ 6; Ex. D.)
                          21             6.       On December 13, 2022, counsel for the Individual Defendants
                          22       submitted a [Proposed] Judgment regarding dismissal of the Individual Defendants,
                          23       with prejudice, pursuant to Code of Civil Procedure Section 581(f)(1). (Bachert Decl.
                          24       ¶ 7; Ex. E.)
                          25             7.       Pursuant to 28 U.S.C. § 1446(a), the entire file or record in the State
                          26       Court Action, including all process and pleadings, and orders served upon Yusen in
                          27       this action, is filed concurrently herewith. (Bachert Decl. ¶¶ 2-9, Exs. A-F.)
                          28       ///
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                               1          8.    A Notice of Removal will be filed contemporaneously with the Clerk of
                               2   the Superior Court of the State of California for the County of Los Angeles, and will
                               3   be served contemporaneously on all counsel of record, as required by 28 U.S.C.
                               4   § 1446(d). (Bachert Decl. ¶ 10.)
                               5   II.    NATURE OF THE SUIT.
                               6          9.    The FAC alleges the following causes of action: (1) Discrimination on
                               7   the Basis of Age in Violation of the Fair Employment and Housing Act (“FEHA”);
                               8   (2) Retaliation in Violation of California Labor Code Section 1102.5; (3) Retaliation
                               9   in Violation of California Labor Code Section 6310; (4) Wrongful Termination in
                          10       Violation of Public Policy; (5) Breach of Implied-in-Fact Contract Not to Terminate;
                          11       and (6) Intentional Infliction of Emotional Distress. (See Bachert Decl. ¶ 3, Ex. B.)
                          12       III.   GROUNDS FOR REMOVAL ON THE BASIS OF DIVERSITY
                                          JURISDICTION.
                          13
                          14              10.   A federal court has “original jurisdiction of all civil actions where the
                          15       matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
                          16       costs, and is between … citizens of different States …” 28 U.S.C. § 1332(a)(1).
                          17       “[A]ny civil action brought in a State court of which the district courts of the United
                          18       States have original jurisdiction, may be removed by the defendant or the defendants
                          19       …” 28 U.S.C. § 1441(a).
                          20              11.   Therefore, a state court action may be removed if: (1) the action is
                          21       between, on the one hand, a citizen of one state, and, on the other hand, a citizen of
                          22       a different state; and (2) the matter in controversy exceeds the sum of $75,000,
                          23       exclusive of interest and costs. Each of these requirements is met, as discussed in
                          24       further detail below.
                          25              A.    Complete Diversity of Citizenship.
                          26                    12.   Citizenship of Plaintiff. Plaintiff is a California resident. (See
                          27       Bachert Decl. ¶ 3, Ex. B, 2:12-13.) “The place where a man lives is properly taken to
                          28       be his domicile until facts adduced establish the contrary.” Dist. of Columbia v.
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                               1   Murphy, 314 U.S. 441, 455 (1941). In the instant case, no facts have been adduced
                               2   to rebut the presumption that Plaintiff is domiciled in California. Therefore, Plaintiff
                               3   is a citizen of the State of California for diversity purposes.
                               4                13.    Citizenship of Defendants. A corporation is “deemed to be a
                               5   citizen of every State and foreign state by which it has been incorporated and of the
                               6   State or foreign state where it has its principal place of business …” 28 U.S.C. §
                               7   1332(c)(1). Yusen is a corporation organized under the laws of the State of New York
                               8   with its headquarters and principal place of business located in the State of New
                               9   Jersey. Accordingly, Yusen is considered a citizen of the States of New York and
                          10       New Jersey. 28 U.S.C. § 1332(c)(1).
                          11                    14.    The citizenship of the supposed defendants named as “DOES 1
                          12       through 100” is disregarded for diversity purposes. 28 U.S.C. § 1441(b)(1).
                          13                    15.    Because Plaintiff is a citizen of California, and Yusen is a citizen
                          14       of New York and New Jersey, complete diversity exists.
                          15                    16.    No exception to removal exists. Pursuant to 28 U.S.C. 1441(b)(2),
                          16       a case cannot be removed to federal court on the basis of diversity of citizenship if
                          17       any defendant served in the action is a citizen of the state in which the state court
                          18       action is pending. Here, the State Court Action is pending in California, and as
                          19       previously discussed, Yusen is not a citizen of the State of California for purposes of
                          20       determining diversity. Therefore, this matter is removable.
                          21             B.     Amount in Controversy Exceeds $75,000.
                          22                    17.    A notice of removal need only include a plausible allegation that
                          23       the amount in controversy exceeds the jurisdictional threshold. Dart Cherokee Basin
                          24       Operating Co., LLC v. Owens¸ 135 S. Ct. 547, 553-554 (2014). Evidence establishing
                          25       the amount is required only when the plaintiff contests, or the court questions, the
                          26       defendant’s allegation. Id. “In measuring the amount in controversy, a court must
                          27       assume that the allegations of the complaint are true and that a jury will return a
                          28       verdict for the plaintiff on all claims made in the complaint.” Kenneth Rothschild
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                               1   Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002)
                               2   (internal citations omitted).
                               3                18.    While Yusen denies any liability to Plaintiff whatsoever, it asserts
                               4   herein, based on the allegations in the FAC and Plaintiff’s prayer for relief, that the
                               5   amount in controversy exceeds $75,000. Yusen’s assertions are limited to its
                               6   preliminary understanding of Plaintiff’s claims and data currently available.
                               7                19.    Economic Damages. By this lawsuit, Plaintiff seeks, among
                               8   other things, general damages, special damages (including lost income, lost benefits,
                               9   and other out-of-pocket expenses), exemplary damages, pre-judgment and post-
                          10       judgment interest, attorneys’ fees and costs, injunctive relief, and such other relief as
                          11       the Court deems proper. (See Bachert Decl. ¶ 3, Ex. B, 8:1-27, 9:1-2, 15:4-12.)
                          12                    20.    Plaintiff was employed with Yusen as a Warehouse Supervisor.
                          13       (Id., ¶ 3, Ex. B, 5:12-13.) Plaintiff alleges he was terminated on or around January
                          14       22, 2021. (Id., ¶ 3, Ex. B, 6:27-28, 7:1-2.) Based on his pay records, Plaintiff had a
                          15       gross pay in the amount of approximately $1,591.66 bi-weekly.
                          16                    21.    In establishing that the amount in controversy likely exceeds the
                          17       jurisdictional minimum, a defendant is permitted to calculate the likely back pay
                          18       award from the date of the termination until the date of likely judgment. See Adkins
                          19       v. J.B. Hunt Transport, Inc., 293 F. Supp. 3d 1140, 1144 (E.D. Cal. 2018).
                          20                    22.    The median time from the filing of a complaint until trial in the
                          21       Central District of California is 23.5 months. See United States Courts Statistics,
                          22       Federal Court Management Statistics – Profiles for U.S. District Courts – Combined
                          23       Civil       and       Criminal,        Central       District       of       California,
                          24       https://www.uscourts.gov/sites/default/files/fcms_na_distprofile0630.2022_0.pdf
                          25       (last updated June 30, 2022).
                          26                    23.    With a removal date of December 19, 2022, the estimated trial
                          27       date for this action based on the aforementioned statistics would be at least December
                          28       4, 2024 – nearly 3 years following Plaintiff’s alleged termination, or approximately
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                               1   202 weeks. Accordingly, through the date of likely judgment, Plaintiff’s claim for
                               2   lost wages, alone, totals $160,757.66 ($1,591.66 bi-weekly x 101 bi-weekly
                               3   workweeks).
                               4                24.   Based on the foregoing, Plaintiff’s alleged economic damages
                               5   total $160,757.66, alone.
                               6                25.   Non-economic Damages. Plaintiff alleges that, as a result of the
                               7   acts and conduct of Yusen, “[he] has suffered and will suffer psychological and
                               8   emotional distress, humiliation, and mental and physical pain and anguish...” (See
                               9   Bachert Decl. ¶ 3, Ex. B, 8:6-8.)
                          10                    26.   “To establish the amount of emotional distress in controversy, a
                          11       defendant may introduce evidence of jury verdicts in other cases.” Cain v. Hartford
                          12       Life and Acc. Ins. Co., 890 F. Supp. 2d 1246, 1250 (C.D. Cal. 2012). Jury verdicts in
                          13       wrongful termination and discrimination cases make clear that emotional distress
                          14       awards are often substantial and frequently awarded in an amount at least twice the
                          15       underlying economic damages, or, at the very least, in the same amount as economic
                          16       damages. See Izaguirre v. International Coffee & Tea LLC, 2013 WL 6624243,
                          17       Superior Court, Los Angeles County (Sept. 26, 2013); Viveros v. Donahoe, 2012 WL
                          18       7854374, United States District Court, Central District of California (Nov. 30, 2012);
                          19       Cho v. B & B Pharmacy and Healthcare Center, 2011 WL 8227178, Superior Court,
                          20       Los Angeles County (July 13, 2011); Husein v. Selma Unified School District, 2010
                          21       WL 8672016, Superior Court, Fresno County (Oct. 26, 2010).
                          22                    27.   Punitive Damages.       Plaintiff alleges that Yusen’s “conduct
                          23       constitutes oppression, fraud, and/or malice under California Civil Code section
                          24       3294…” and that Plaintiff is entitled to recover punitive damages as a result. (See
                          25       Bachert Decl. ¶ 3, Ex. B, 8:9-27.)
                          26                    28.   The Court may take into account punitive damages for purposes
                          27       of determining the amount in controversy where such damages are recoverable under
                          28       state law. Brady v. Mercedes-Benz USA, Inc., 243 F. Supp. 2d 1004, 1009 (N.D. Cal.
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                               1   2002). California law does not provide any specific monetary limit on the amount of
                               2   punitive damages that may be awarded under Civil Code section 3294. Boyle v.
                               3   Lorimar Productions, Inc., 13 F. 3d 1357, 1360 (9th Cir. 1994). A punitive damages
                               4   award may equal as much as four times the amount of the actual damages award.
                               5   State Farm Mutual Auto Ins. Co. v. Campbell, 538 U.S. 408, 425 (2003).
                               6                29.    Attorneys’ Fees. Attorneys’ fees must be considered in
                               7   determining whether the amount in controversy requirement has been satisfied if a
                               8   plaintiff sues under a statute that authorizes an award of fees to the prevailing party.
                               9   Canesco v. Ford Motor Company, 570 F. Supp. 3d 872, 903, n. 19 (S.D. Cal. 2021).
                          10       “[T]he measure of fees should be the amount that can reasonably be anticipated at
                          11       the time of removal, not merely those already incurred.” Simmons v. PCR Tech., 209
                          12       F. Supp. 2d 1029, 1034-35 (N.D. Cal. 2002).
                          13                    30.    While Plaintiff’s attorneys’ fees cannot be precisely calculated, it
                          14       is reasonable to assume that they likely will exceed the damages award. See id., at
                          15       1035. Recent estimates for the number of hours expended through trial for single-
                          16       plaintiff employment cases have ranged from 100 to 300 hours. Sasso v. Noble Utah
                          17       Long Beach, LLC, No. CV 14-09154-AB (AJWx), 2015 WL 898468, *12 (C.D. Cal.
                          18       March 3, 2015) (citations omitted).
                          19                    31.    Other Relief. Plaintiff also seeks open-ended relief as “[s]uch
                          20       other and further relief as the Court may deem just and proper.” (See Bachert Decl. ¶
                          21       3, Ex. B, 15:12.) Although uncertain in amount, this additional damages claim only
                          22       serves to increase the amount in controversy. See Lewis v. Exxon Mobil Corp., 348
                          23       F. Supp. 2d 932, 932-934 (W.D. Tenn. 2004) (the “open ended” relief sought by
                          24       plaintiff, who prayed for “judgment to be determined by a jury, for all incidental,
                          25       consequential, compensatory and punitive damages” established that his case met the
                          26       amount in controversy requirement even though he pled in the complaint that he did
                          27       not assert a claim in excess of $75,000).
                          28       ///
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                               1                32.     Yusen denies that Plaintiff’s claims have any merit. Yusen also
                               2   denies that Plaintiff suffered any damages. However, when the relief sought is taken
                               3   as a whole, the total amount in controversy exceeds the jurisdictional requirement of
                               4   $75,000.00, exclusive of interest and costs.
                               5                33.     Thus, this Court has original jurisdiction over the claims asserted
                               6   by Plaintiff in this action based on diversity of citizenship jurisdiction under 28
                               7   U.S.C. §§ 1332(a)(1) and 1441(a).
                               8   IV.   THE PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE
                                         BEEN SATISFIED.
                               9
                          10             A.     This Court Has Been Provided With All Prior Pleadings.
                          11                    34.     Pursuant to 28 U.S.C. § 1446(a), Yusen has attached all
                          12       pleadings, process, orders, and all other filings in the State Court Action to the
                          13       Declaration of Julie A. Bachert filed concurrently herewith. (Bachert Decl. ¶¶ 2-9,
                          14       Exs. A-F.)
                          15             B.     The Instant Removal Is Timely.
                          16                    35.     This Notice of Removal is timely filed in accordance with 28
                          17       U.S.C. § 1446(b)(3), in that it is filed within thirty (30) days after November 30,
                          18       2022, the date of the Demurrer Hearing in which the State Court ordered the dismissal
                          19       of the Individual Defendants and Yusen first ascertained that the State Court Action
                          20       had become removable. (Bachert Decl. ¶¶ 4-5, Ex. C.) Here, the last day for removal
                          21       falls on December 30, 2022, accounting for weekends and holidays. See 28 U.S.C. §
                          22       1446(b)(3); Fed. R. Civ. Proc. 6(a). Therefore, the instant Notice of Removal has
                          23       been timely filed.
                          24             C.     Venue is Proper.
                          25                    36.     The State Court Action was brought and is pending before the
                          26       Superior Court of California, Los Angeles County. Los Angeles County is located
                          27       within the Western Division of the Central District of California. Thus, venue is
                          28       proper pursuant to 28 U.S.C. § 84(b) because the Western Division of the Central
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                               1   District of California is the “district and division embracing the place where
                               2   [Plaintiff’s] action is pending.” 28 U.S.C. § 1441(a).
                               3         D.     The Notice Requirements Have Been Satisfied.
                               4                37.   As required by 28 U.S.C. §1446(d), Yusen will promptly file and
                               5   serve a notice of removal to the Clerk of the Superior Court of California, County of
                               6   Los Angeles, and will serve the same upon Plaintiff. (See Bachert Decl. ¶ 10.)
                               7   V.    CONCLUSION.
                               8         38.    WHEREFORE, Yusen removes this civil action from the Superior
                               9   Court of the State of California, County of Los Angeles, to the United States District
                          10       Court for the Central District of California. By removing the State Court Action to
                          11       this Court, Yusen does not waive any defenses, objections, or motions available to it
                          12       under state or federal law.
                          13
                          14                                            Respectfully submitted,
                          15       Dated: December 19, 2022             FORD & HARRISON LLP
                          16
                          17                                            By: /s/ Julie Bachert
                                                                           Allison V. Saunders
                          18                                               Jennifer S. McGeorge
                                                                           Julie A. Bachert
                          19                                               Attorneys for Defendant
                                                                           YUSEN LOGISTICS (AMERICAS) INC.
                          20
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                               1                                 PROOF OF SERVICE
                               2         I, Lillian Marquez, declare:
                               3         I am a citizen of the United States and employed in Los Angeles County,
                                   California. I am over the age of eighteen years and not a party to the within-entitled
                               4   action. My business address is South Grand Avenue, Suite 2300, Los Angeles,
                                   California 90071.
                               5
                                         On December 19, 2022, I served a copy of the within document(s):
                               6
                                           NOTICE OF REMOVAL OF ACTION BY DEFENDANT YUSEN
                               7                       LOGISTICS (AMERICAS) INC.
                               8               ELECTRONICALLY: I caused a true and correct copy thereof to be
                                                electronically filed using the Court's Electronic Court Filing ("ECF")
                               9                System and service was completed by electronic means by transmittal of
                                                a Notice of Electronic Filing on the registered participants of the ECF
                          10                    System. I served those parties who are not registered participants of the
                                                ECF System as indicated below.
                          11
                          12           
                                       X        by e-mail or electronic transmission. Based on an agreement of the
                                                parties to accept service by e-mail or electronic transmission, I caused
                                                the documents to be sent on the date shown below to the e-mail addresses
                          13                    of the persons listed below. My e-mail address is
                                                lmarquez@fordharrison.com. I did not receive within a reasonable time
                          14                    after the transmission any electronic message or other indication that the
                                                transmission was unsuccessful.
                          15
                          16              Michael Zelman                                 Attorneys for Plaintiff
                                          Taylor M. Prainito
                          17              Parth N. Shah
                                          Southern California Labor Law Group, PC
                          18              1875 Century Park East, Suite 480
                                          Los Angeles, CA 90067
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                                          Facsimile: 323-319-5148
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                                                  mzelman@scllgpc.com
                          21                      pshah@scllgpc.com
                                                  kmonroy@scllgpc.com
                          22                      ytochitsky@scllgpc.com
                          23            I declare under penalty of perjury under the laws of the United States of
                                   America that the above is true and correct.
                          24
                                         Executed on December 19, 2022, at Los Angeles, California.
                          25
                          26                                                              Lillian Marquez
                          27
                          28
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